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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
v.                                                §   No. 3:07-CR-077-L
                                                  §
DANIEL J. SATTIZAHN (4)                           §

                          MEMORANDUM OPINION AND ORDER

       Before the court is Defendant’s Request to Convert Sentence, filed February 3, 2010.

Defendant asks the court to convert the remaining months of his custody sentence to in-home

confinement. The government opposes Defendant’s motion. After carefully considering the motion,

record, and applicable law, the court denies Defendant’s Request to Convert Sentence.

       Defendant pleaded guilty to conspiracy to commit wire fraud, in violation of 18 U.S.C. §

1349. The court entered its criminal judgment as to Defendant on September 18, 2008. He was

sentenced to twenty-four months imprisonment, three years of supervised release, and restitution in

the amount of $2,095,136.41.

       Defendant contends that he has been a model inmate and that he has been fully rehabilitated

by the term he has already served. He states that he is scheduled to be released to a halfway house

on August 3, 2010. He argues that he will be better able to pay the restitution he owes if he is

released to in-home confinement and permitted to work. Defendant also argues that his business

partner was sentenced by United States District Judge A. Joe Fish and only received a sentence of

twelve months and one day and that the court should correct the disparity.

       The government opposes his motion and contends that Defendant has failed to cite any legal

basis for his request. It argues that the court cannot reduce or correct his sentence.


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        The court finds that its ability to modify or change a sentence, once imposed, is limited. As

this circuit held:

                [A] district court’s authority to correct or modify a sentence is limited
                to those specific circumstances enumerated by Congress in 18 U.S.C.
                § 3582(b). . . . 18 U.S.C. § 3582(b) authorizes the district court to
                modify a previously imposed sentence in a limited number of
                circumstances, such as: (1) when the court receives a motion from
                the Director of the Bureau of Prisons indicating there are
                extraordinary and compelling reasons warranting a reduction and that
                reduction is consistent with applicable policy statements issued by the
                Sentencing Commission; (2) pursuant to Rule 35(c) of the Federal
                Rules of Criminal Procedure the district court, acting within 7 days
                after the imposition of the sentence, corrects an arithmetical,
                technical, or other clear error identified in a previously imposed
                sentence; and (3) when a defendant who has been sentenced to a term
                of imprisonment based upon a sentencing range that has subsequently
                been lowered by the Sentencing Commission.

United States v. Bridges, 116 F.3d 1110, 1112 (5th Cir. 1997). Defendant has not argued that his

circumstances meet the requirements of section 3582(b).

        While the court applauds Defendant’s activities in custody and his desire to begin paying his

restitution, there is no legal basis for converting his sentence as he requests. Accordingly, the court

denies Defendant’s Request to Convert Sentence.

        It is so ordered this 13th day of April, 2010.




                                                         _________________________________
                                                         Sam A. Lindsay
                                                         United States District Judge




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